Case 1:24-cv-23015-SC Document 34 Entered on FLSD Docket 11/08/2024 Page 1 of 2




                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF FLORIDA
                            MIAMI DIVISION

 MACK WELLS and
 MAURICE SYMONETTE,

       Plaintiff,

 v.                                       Case No.: 1:24-cv-23015-SC

 U.S. BANK N.A. ET AL,

             Defendants.
                                     /

                                    ORDER

       Before the Court is Plaintiff Mack Wells’ Applications to Proceed In

 District Court Without Prepaying Fees or Costs (Docs. 28, 31), which the Court

 construes as a motion for leave to appeal in forma pauperis.         Wells and

 Symonette filed a pro se Notice of Appeal (Doc. 30), seeking to appeal this

 Court’s dismissal of their Complaint (Doc. 26).

       An individual seeking to appeal in forma pauperis must submit a

 statement of good faith on the issues he appeals. Fed. R. App. P. 24(a)(1)(C)

 (“The party must attach an affidavit that...states the issues that the party

 intends to present on appeal.”). The statement lets the district court decide

 whether the appeal is frivolous or not taken in good faith.

       Wells failed to submit any such statement. And even when reading his

 filings liberally, the Court identifies no good faith issues to be appealed. The
Case 1:24-cv-23015-SC Document 34 Entered on FLSD Docket 11/08/2024 Page 2 of 2




 Court thus finds Wells has presented no meritorious issues to raise on appeal

 and is not taking the appeal in good faith. Because the Court certifies the

 appeal is not taken in good faith, any request to proceed in forma pauperis

 must be sent directly to the Eleventh Circuit Court of Appeals. See Fed. R.

 App. P. 24(a)(5).

       Accordingly, it is

       ORDERED:

       1.    Mack Wells’ motions for leave to appeal in forma pauperis (Doc.

             28, 31) are DENIED.

       2.    The Clerk is DIRECTED to send a copy of this Order to the Clerk

             for the Eleventh Circuit Court of Appeals.

       DONE and ORDERED in Miami, Florida on November 8, 2024.




 Copies: All Parties of Record




                                       2
